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                                                                                2017 Oct-27 AM 09:28
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHWESTERN DIVISION


MARCUS BUTLER, individually                )
and on behalf of all others similarly      )
situated,                                  )
                                           )   Civil Action Number
      Plaintiffs,                          )   3:17-cv-01296-AKK
                                           )
vs.                                        )
DIVERSIFIED CONSULTANTS                    )
INC.,                                      )

      Defendant.


                                     ORDER

      Consistent with the Stipulation of Dismissal, see doc. 13, this case is

DISMISSED WITHOUT PREJUDICE. This court shall retain jurisdiction over

the parties until April 13, 2018 for purposes of enforcing the settlement agreement.

      It is further ORDERED that the parties shall submit a stipulation of

dismissal with prejudice by April 13, 2018. Otherwise after that date, this action

will be deemed dismissed with prejudice.

      DONE the 27th day of October, 2017.


                                        _________________________________
                                                 ABDUL K. KALLON
                                          UNITED STATES DISTRICT JUDGE
